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                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF IDAHO

REBECCA ROE, by and through her
parents and next friends, Rachel and Ryan   Case No. 1:23-cv-00315-DCN
Roe; SEXULAITY AND GENDER
ALLIANCE, an association                    DEFENDANTS’ MOTION TO
                                            DISMISS
                   Plaintiffs,

v.

DEBBIE CRITCHFIELD, in her official
capacity as Idaho State Superintendent of
Public Instruction, et al.,

                   Defendants.




                                                         MOTION TO DISMISS – 1
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      Defendants hereby move to dismiss this action under Federal Rule of Civil

Procedure 12(b)(6).   Defendants submit the accompanying memorandum of law,

which sets forth the reasons supporting dismissal of this action.

Dated: August 22, 2023                 STATE OF IDAHO
                                       OFFICE OF THE ATTORNEY GENERAL


                                       By: /s/ Lincoln D. Wilson
                                       LINCOLN DAVIS WILSON
                                       Chief of Civil Litigation and
                                       Constitutional Defense




                                                                MOTION TO DISMISS – 2
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                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on August 22, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent a Notice of
Electronic Filing to the following persons:
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                                                                  MOTION TO DISMISS – 3
